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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


                                                  )
   ADVANCED SYSTEMS TECHNOLOGY                    )
   AND MANAGEMENT,INC.,                           )
                                                  )
                         Plainliff,               )
                                                  )         CaseNo. l:18-cv-988
            V.                                    )
                                                  )
   FEIGUAN,                                       )
                                                  )
                         Defendant.               )
                                                  )
                                                  )

                                           ORDER


       This matter comes before the Court on the Report and Recommendation(R&R)of United

States Magistrate Judge Theresa Carrol! Buchanan, dated September 20. 2018 (Dkt. 61). There

was no objection to the R&R. The Court has reviewed the Complaint, the Order granting in part

Plaintiffs Emergency Motion to Compel Compliance with Preliminary Injunction Order(Dkt.

55), and the supporting documents, and ADOPTS the findings and recommendations of Judge

Buchanan.




November\^,2018                                             LiamO'Grad
Alexandria, Virginia                                        United States   lict Judge
